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              Exhibit A
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                                                                                       <   EFfLED IN C3FFICE
                                                                                      CLERK OF SUPERIOR COUR'1'
                                                                                      THOMAS COUNTY, GEORGiA
                                                                                   SUCV2023000454
                   IN THE SUPERIOR COURT OF THOMAS COUNTY
                               STATE OF GEORGIA                                       Al1G 23, 2023 70:36 ANi


MARCUS GRIGGS, Individually,                                                                     Randa D. Wharton, Clr.rk
                                                                                                 Thnmas County, GP.orqla
And On Behalf of the Estate of
CORENE GRIGGS, deceased,

       Plaintiff                                      CIVIL ACTION NO.

V.

LIFE CARE CENTERS of
AMERICA INC. d/b/a
CAMELLIA GARDENS of LIFE CARE

       And
                                                      JURY TRIAL DEMANDED
JOHN DOES (1-5) and ABC
CORPORATIONS (1-5)

       Defendant


                                         COMPLAINT

       COMES NOW Marcus Griggs, individually, and on behalf of Corene Griggs, by and

through the undersigned counsel, and files this Complaint against Defendants Life Care Centers

of America d/b/a Camellia Gardens of Life Care, John Does 1-5 and ABC Corporations 1-5

(Defendants) hereby showing the Court the following.

                                       INTRODUCTION

1.     This is an action for violations of state and federal law and regulations, negligence per se,

       professional negligence, simple negligence, breach of contract, negligent hiring, retention,

       training, and supervision, and punitive damages regarding treatment and services

       provided by Defendants, which proximately caused Corene Griggs to suffer severe and

       life threatening injuries, illness, pain, and suffering. At all times material to this suit,

       Corene Griggs received care, treatment, and supervision while residing at Camellia



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      Gardens of Life Care, located at 804 South Broad Street, Thomasville, Georgia 31792.

      The Plaintiff in his individual capacity, and on behalf of the estate of Corene Griggs,

      therefore seeks to recover upon claims arising under tort and contract.

2.    This action is timely filed less than two years from the date of all acts of negligence

      alleged herein. As such, this action is not barred by any statute of limitations or other time

      related or equitable defense.

                                             PARTIES

3.    Marcus Griggs, as a surviving son of Corene Griggs, brings this action to recover

      damages. Marcus Griggs, was, at the time of the injuries complained of herein, a resident

      of Thomas County, GA.

4.    The skilled nursing home facility known as Camellia Gardens of Life Care (hereinafter

      "Camellia") is located at 804 South Broad Street, Thomasville, Georgia 31792 and is

      owned, operated, and/or managed by Life Care Centers of America, Inc. Camellia was

      charged with responsibility for the provision of residence, care, treatment and

      convalescent and rehabilitation services to Corene Griggs. Camellia failed at these

      responsibilities as outlined in this Complaint and in the attached Affidavit of Fadi Saba,

      M.D.

5.    Pursuant to O.C.G.A. § 9-11-9.1, Plaintiff attaches as Exhibit "1" the expert affidavit of

      Fabi Saba, M.D. as to the care and treatment provided by the Defendants, which is

      incorporated by reference as if fully set forth herein, and which sets forth at least one

      negligent act or omission related to the care and treatment of Corene Griggs by

      Defendants by and through their employees acting in the course and scope of their

      employment, which negligent acts or omissions proximately caused or contributed to the



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     injury and death of Corene Griggs, illustrating the failure by Camellia to furnish and

     exercise that degree of care required of a hospital and/or skilled nursing facility

     operator in Georgia.

                                JURISDICTION & VENUE

  6. Defendant Life Care Centers of America, Inc. d/b/a Camellia Gardens of Life Care is

     located at 804 South Broad Street, P.O. Box 1959, Thomasville, Georgia 31792, is a for-

     profit corporation, and is registered to do business in Georgia with its principal place

     of business at 3570 Keith Street NW, Cleveland, Tennessee 37312-4309. Service upon

     Defendant Life Care Centers of America, Inc. d/b/a Camellia Gardens of Life Care can

     be perfected by serving its registered agent, Corporation Service Company at 2 Sun

     Court, Suite 400, Peachtree Corners, Georgia 30092

  7. Jurisdiction is proper in this Court as to Defendants.

  8. Venue is proper in this Court as to Defendants.

  9. The true names or capacities of Defendants named herein as John Does 1 through 5 and

     ABC Corporations 1 through 5 are unknown to the Plaintiff, who therefore sue said

     Defendants by such fictitious names. Plaintiff will amend the Complaint to show said

     John Does' and ABC Corporations true names when the same have been ascertained.

     Plaintiff alleges on information and belief that all John Does and ABC Corporations were

     negligent as described in detail below and in Exhibit 1 attached hereto. Plaintiff also alleges

     that John Does were eniployees, actual agents, or apparent agents of Camellia at all times

     relevant to this Complaint and were acting incident to and withinthe course and scope of

     their employment or agency with Camellia at all times relevant to this Complaint, and that

     John Does were responsible as medical doctors, medical directors, registered nurses,



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     physician assistants, licensed practical nurses, or stafff for the care and treatment of

     Corene Griggs at all times relevant to this Complaint. Plaintiff also alleges that ABC

      Corporations were owAers, operators or managers of Camellia and were responsible for

     the care and treatment of Corene Griggs at all times relevant to this Complaint.         I

                                           FACTS

  10. On January 31, 2022, Ms. Griggs was admitted to Camellia. At the time of her

     admission, Ms. Griggs had a medical history including Unspecified Hyperlipidemia,

     Chronic Systolic Congestive Heart Failure, Iron Deficiency Anemia secondary to Blood

     Loss, Hypertensive Heart Disease, Essential Tremor, Stage 2 Pressure Ulcer of Sacral

     Region, Overactive Bladder, and Parkinson's Disease.

  11.On January 24, 2022, Ms. Griggs was admitted to Archbold Memorial

     Hospital. She was presented to the emergency depat-tment by emergency

     transportation secondary to a fall that resulted in a femur fracture and right

     hip.

  12. OnJanuary 31, 2022, Ms. Griggs was ttansfeiredfromArchboldMeinorialHospital

     to Camellia.

  13. On February 7, 2022, Ms. Griggs was noted to have a Braden Scale score of

     12, denoting a high risk for developing pressure wounds.

  14. On February 8, 2022, the Stage 2 pressure wound to the right buttock that

     Ms. Griggs had upon adinission to Cainellia measured 2x0.1x0.l.cm with no

     exudate and no signs of infection.

  15. On Februaiy 11, 2022, it was noted that Ms. Griggs had actual impairnlent to

     skin integrity of the right outer ankle callous and riglit lower leg. Also, Ms.


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     Griggs was noted to have a pressure ulcer to the coccyx and lower leg.

  16. On February 13, 2022, Ms. Griggs was found to have a poor appetite.
                                                                                            ~
                                                                                            ~
  17. On February 14, 2022, Ms. Griggs was admitted to Archbold Medical Center
                                                                                            ;
     having suffered an acute pulmonary embolism.

  18. On February 17, 2022, Ms. Griggs was admitted to Hospice of Southwest

     Georgia.

  19. On March 28, 2022, it was obser-ved that Ms. Griggs had a small open area

     to the Ieft gluteal fold. Also, the hospice note found that Ms. Griggs had a

     new abrasion to her buttock crease.

  20. On Apri125, 2022, Ms. Griggs was observed to have an edema of her bilateral

     lower extremities, with 4 plus pitting.

  21. On Apri127, 2022, it was found that Ms. Griggs had an ongoing pitting edema

     to her right foot and ankle. Also, it was found that Ms. Griggs had lost 1 cm

     in arm circumference over the past month.

  22. On June 6, 2022, an open area to Ms. Griggs' right side lower back area was
                                                                                                ~
     found to be healed.

  23. On July 21, 2022, a wound note observed a shallow moist area to Ms. Griggs'

     sacrum, with discoloration of skin from old, healed areas.                                 ;

  24. On August 5, 2022, a wound note stated there was a change in treatment plan
                                                                                                ~
     to Ms. Griggs' right inner leg wound. Slough was observed in the wound bed

     with odor.

  25. On August 15, 2022, a hospice skin note stated that Ms. Griggs had an open                ;



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     wound on her right medial lower leg with tan slough to wound bed center,

     undermining noted and measured 3.5x1.5x2c.m. This wound began as an

     abrasion but worsened. ,Tunneling was 3c.m. and moderate, purulent drainage

     was present.

  26. On August 19, 2022, it was noted that Ms. Griggs had multiple pressure

     ulcers.

  27. On September 4, 2022, it was noted that Ms. Griggs had a wound to her

     coccyx, with a red wound bed with peri-wound intact, white in color.

  28. On November 22, 2022, a wound note found that Ms. Griggs had a worsening

     wound to her left hip, and that the wound was larger with softer tissue and an

     odor.

  29. On December 5, 2022, Ms. Griggs was found to be dependent upon the

     nursing staff for transfer, eating, toileting, locomotion, hygiene, and bathing.

     Also, it was found that she did not ambulate.

  30. On December 10, 2022, Ms. Griggs died, with her cause of death being

     cardiopulmonary arrest with underlying cause of secondary to complications

     of right femur fracture.




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                                             COUNT ONE

                PROFESSIONAL NEGLIGENCE AGAINST ALL DEFENDANTS

  31. Plaintiff re-alleges and incorporates by reference each of the allegations and numbered i

      paragraphs set forth above as if fully set forth herein. Camellia was negligent and failed to

      exercise that degree of care required of the hospital and long-term care and skilled

      nursing home profession in general under similar conditions and like circumstances. To

     the extent that this Count may be considered a medical malpractice action as defined in

      O.C.G.A. § 9- 11-8 or O.C.G.A. § 9-3-70, see the Affidavit and CV of Fadi Saba, MD,

      attached hereto as Exhibit "1" to pursuant to O.C.G.A. § 9-11-9. 1(a), to the extent that ~

     this statute may apply, if at all, to this action, and which Affidavit is incorporated herein I

     by referenceas if fully set forth herein.

  32. The Affidavit specifies at least one negligent act or omission on the part of Camellia i

     and/or its staff, and the factual basis for such negligent act or omission that caused injury :

     to Corene Griggs. The Affidavit is not inclusive of each act, error, or omission that has '

     been committed by Defendants, and Plaintiff reserves the right to contend and prove i

     additional acts, errors, and omissions on the part of Defendants that reflects a departure '

     from the requisite standard of care by law.

  33. Pursuant to his education, training and experience, Dr. Saba is familiar with the ;

     guidelines and regulations of the medical care industry Skilled Nursing and Long-Term ,

     Care Facilities including the requirement to discharge patients from their facility wlien ,

     the acuity level necessitates skilled nursing care.

  34. Pursuant to Dr. Saba's education, training and experience, he is familiar with the proper

     care of patients who had medical conditions sim.ilar to Corene Griggs, including but not


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      limited to abnormalities of gait and mobility, and generalized muscle weakness.

  35. Pursuant to Dr. Saba's education, training and experience, he is fully aware of the

      circumstances under which a resident is in need of the services of a physician for care and

      prevention and treatment of pressure injuries.

  36. As a result of Dr. Saba's education, training and experience outlined above and

      described more in his attached CV, he is well qualified to testify as to the acceptable

      standards of care with respect to the below referenced aspects of hospital and nursing '~

      care, both for nursing care that occurs at a nursing home, assisted living facility and/or

      any type of long-term care setting.

  37. The standard of care for staff in hospitals and the long-term care setting requires that the

      staff prepare proper assessments and care plans for the identification of residents at risk

      for skin breakdown and, and to provide proper care for the prevention and treatment of

      the same.

  38. The standard of care for staff in hospitals and the long- term care setting requires that

      the staff provide appropriate monitoring and update care plans when the needs of ai

     resident has changed substantially.

  39. The standard of care for staff in hospitals and the long-term care setting requires that the ,

     staff recognize significant changes in a resident and notify the physician and family

     regarding the changes as well as initiate a resident's transfer to an acute care center

     sufficient to meet the resident's needs.

  40. The standard of care for staff in hospitals and skilled nursing and long-term care settings

     requires that staff turn and reposition residents at a minimum of every two hours to

     relieve pressure areas and in so doing prevent the breakdown of vulnerable skin for
                                                                                                     ~

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      residents such as Corene Griggs who were at a high risk for skin breakdown.

  41. The standard of care for staff in hospitals and skilled nursing and long-term care settings~

      requires that they accurately assess an elderly resident's risk for skin breakdown.

  42. The standard of care for staff in hospitals and the long-term care setting requires that

     staff obtain immediate emergency or hospital care when the resident's condition

     it.

  43. Camellia owed Corene Griggs duties of care, including but not limited to a duty

     exercise that degree of skill and care ordinarily employed by the medical profession

     generally under similar,conditions and like surrounding circumstances, a duty of ordinary

     care, and a duty not to negligently injure Corene Griggs.

  44. Notwithstanding the duty owed to Corene Griggs by Camellia as described above,

     Camellia was negligent and failed to exercise that degree of care, skill and diligence

     required of the medical and nursing home profession in gerieral under similar conditions

     and like circumstances. The negligence of Camellia included, but was not limited to,

     the following:

                i.    Failure to institute an appropriate care plan for the prevention of pressure

                      injuries;

                ii. Failure to properly implement care and services to heal pre-existing

                      areas of skin breakdown;

              iii. Failure fo provide adequate measures to prevent development of
                   injuries;,

               iv.    Failure to assess, recognize, treat and document a significant conditi
                      (significant pressure wounds);

                v.    Failure to monitor and document a significant change in condition;


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                vi.   Failure to exercise appropriate interventions to mitigate malnutrition;
                                                                                                   i
                vii. Failure to obtain appropriate consultations;                                  i

              viii. Failure 1 to inform the physician and family of a significant

                      condition/change in condition;

                ix.   Failure to document care;

                 x.   Failure to ensure the patient's physical and mental well-being.              ;
                                                                                                   ~
  45. Camellia is vicariously liability for the negligent acts and omissions of all persons or

      entities under the control of Camellia either direct or indirect, including its respective

      employees, agents, and consultants, which negligent acts or omissions proximately

      caused or contributed to the injury and death of Corene Griggs, illustrating Camellia's ;

      failure to furnish and exercise that degree of skill and care required of hospitals, nurses, '
                                                                                                   i
     skilled nursing facilities, and the medical profession in general.
                                                                                                   i
  46. John Does owed Corene Griggs duties of care, including but not limited to a duty to

     exercise that degree of skill and care ordinarily employed by the medical profession ~

     generally under similar conditions and like surrounding circumstances, a duty of ordinary

     care, and a duty not to negligently injure Corene Griggs. John Does departed from the ,

     standard of care and were negligent in their care and treatinent of Corene Griggs.
                                                                                                   ;
  47. As a proximate result of the professional negligence of the Defendants as described above,
                                                                                                   ;
     Plaintiff Marcus Griggs, as surviving son of Corene Griggs, deceased, demands ;

     judgment for the full value of the life of Corene Griggs in an amount inexcess of i

     $10,000.


                                      COUNT TWO                                                    I




                                  SIMPLE NEGLIGENCE                                                ;



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  48. Plaintiff re-alleges and incorporates by reference each of the allegations and numbered

      paragraphs set forth above as if fully set forth herein.

  49. Defendant Camellia breached the duty of ordinary care they owed to Corene Griggs by

      negligently failing to render to Corene Griggs the care she required during her stay at

      Camellia by negligently failing to exercise reasonable care to keep her safe from harm

      and to avoid injury to her person, and in other ways to be proven at trial, and thereby and i

      caused her to suffer injuries, damages, and death as a direct and proximateresult of ,

      Camellia's acts and omissions of ordinary negligence and simple negligence.

  50. Camellia breached the duty of ordinary care it owed to Corene Griggs by failing to care '

      for Corene Griggs and in other ways to be proven at trial, and thereby caused Corene

      Griggs to suffer several serious pressure wounds,

  51. As a proximate result of the simple negligence of Camellia, Plaintiff has suffered general

     damages, special damages, and compensatory damages, including but not limited to I

     physical and mental pain and suffering, medical costs, medical expenses, medical bills, '

     funeral costs and damages resulting from the injuries of Corene Griggs.


                               COUNT THREE
          VICARIOUS LIABILITY UNDER THE DOCTRINE OF RESPONDENT
                SUPERIOR AND ACTUAL OR APPARENT AGENCY

  52. Plaintiff re-alleges and incorporates by reference each of the allegations and numbered

     paragraphs set forth above as if fully set forth herein.

  53. At all times relevant to this Complaint, John Does 1-5 and the nurses, certified nurse

     aids and other persons who provided care and treatment to Corene Griggs while she

     was a resident at Camellia were the actual or apparent agents of Camellia.



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  54. Under the doctrine of respondeat superior, vicarious liability, actual agency and/or

     apparent agency, Camellia is liable for the acts and omissions of their employees and

     agents constituting ordinary or simple negligence, including but not limited to John Does

     1-5 and the nurses, certified nurse aids and other persons who provided care and treatment

     to Corene Griggs while she was a resident at Camellia, and Camellia is liable for the acts

     and omissions of its specific employees and agents constituting ordinary or simple

     negligence.

  55. Camellia is liable for the professionally negligent acts and omissions of John Does 1-5 '

     and the nurses, certified nurse aids and other persons who provided care and treatment i

     to Corene Griggs while she was a resident at Camellia under the doctrine of respondeat

     superior, actual agency; and/or apparent agency.

  56. The professionally negligent acts and omissions of the employees and agents of ;

     Defendants including but not limited to John Does 1-5 and the nurses, certified nurse ;

     aids and other persons who provided care and treatment to Corene Griggs while she was ;

     a resident at Camellia, are described in detail above in this Complaint, aswell as in

     Exhibit "1 " to this Complaint, which exhibit is hereby incorporated by reference as if
                                                                                                  i
     fully set forth herein to meet the requirements of O.C.G.A.§9-11-9.1.

  57. All professionally negligent acts and omissions and all ordinarily negligent acts and '

     omissions of Camellia and their employees, agents, and s'taff, including but not limited

     to John Does 1-5 and the nurses, certified nurse aids and other persons who provided ;
                                                                                          ~
     care and treatment to Corene Griggs while she was a resident at Camellia operated !

     together and concurrently and proximately brought about the injuries to Corene Griggs as
                                                                                                  i
     described above.                                                                             i



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  58. Camellia is vicariously liable for its individual employee and agents' negligent acts and '

     omissions, including but not limited to John Does 1-5 and the nurses, certified nurse aids '

     and other persons who'provided care and treatment to Corene Griggs while she was a'

     resident at Camellia as applicable, and for each individual officer, director, employee, '

     agent and servants' negligent acts and omissions, and the resultant injuries, under the

     doctrines of respondeat superioY, vicarious liability, actual agency, and apparent or i

     implied agency.

  59. As a proximate result of the negligence described herein, Plaintiff has suffered general '

     damages, special damages, and compensatory damages, including but not limited to

     physical and mental pain and suffering, medical costs, medical expenses, medical bills,

     funeral costs and damages resulting from the injuries to Corene Griggs, for which

     Defendants are liable.

                                        COUNT FOUR                                                      ;
     NEGLIGENCE PER SE BASED UPON VI.OLATION OF REQUIREMENTS
           FORLONG-TERM CARE FACILITIES AT 42 CFR §483.1 et seg.

  60. Plaintiff re-alleges and incorporate by reference each of the allegations and numbered

     paragraphs set forth above as if fully set forth herein.

  61. Upon information and belief, Camellia is a licensed and certified long- term patient care ;

     and convalescence facility that provides skilled nursing care as a participant in the ,

     Medicare program and that provides nursing care as a participant in the Medicaid I

     program and receives funding under the Medicare and Medicaid programs.                             I




  62. The U.S. Department of Health & Human Services has promulgated a number of ;

     regulations pursuant to its authority under OBRA at 42 USCA §§ 1395i-3 and 1396r I

     related to the care, treatment and services provided to resideyits of skilled nursing facilities


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    participating in the Medicare program and nursing facilities participating in the Medicaid;

    program. Among those regulations are the following:


               i.   42 CFR,§483.10 and 15(a) provide that the resident has a right to live

                    dignified existence;.

              ii.   42 CFR §483.13(c) requires the facility to implement protocols to protect

                    the resident from neglect;                                                  ~
                                                                                                ~
             iii. 42 CFR §483.13(c)(2) requires that all in'stances of patient neglect bel

                    reported to the facility administrator and other officials in accordance '

                    with state law;                                                             ~

             iv.    42 CFR §483.13.(c)(3) requires that the facility maintain evidence of its;

                    investigation into patient neglect and must prevent future neglect d
                                                                                                i
                    patients;                                                                   ;
                                                                                                I,

              v.    42 CFR §483.13.(c)(4) requires that results of neglect investigation be         j

                    reported to the administrator and appropriate state authorities;            I

             vi.    42 CFR §483.15 requires the facility to care for its residents in a manner ;

                    that maintains and enhances the resident's quality of life;                 i

            vii. 42 CFR §483.15.(e)(1) requires that each resident be provided services in i

                    the facility to accommodate their individual needs;

            viii. 42 CFR §483.20.(b) and (g) require .the facility to maintain a;

                    comprehensive and accurate assessment of the resident's medical needs,

                    including the resident'sgeneral health and physical functioning;            I
                                                                                                i
             ix.    42 CFR §483.20.(k)(1) requires that the facility prepare an accurate ~
                                                                                               ,

                                                                                                ;

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                    comprehensivecare plan that addresses the patient's medical and nursing I,

                    needs;

               x.   42 CFR §483.20.(k)(3) requires that services provided or arranged by the

                    facility meet professional standards of quality and be provided by

                    qualified persons;

              xi.   42 CFR §483.25. requires the facility to provide services to attain and

                    maintain thehighest practicable physical, mental and psychosocial well- ,

                    being in accordance with the resident's assessments and Care Plan;

             xii. 42 CFR §483.25.(a)(3) requires the facility to provide a resident who is ;

                    unable tocarry out the activities of daily living necessary services to

                    maintain good nutrition, hygiene, grooming and oral hygiene;               ;


                                                                                               ~
            xiii. 42 CFR §483.30. requires the facility to maintain an adequate nursing staff;

             xiv.   42 CFR §483.75. requires that the facility be administered in such a way ;

                    as to useits resources effectively and efficiently to maintain the highest i

                    practicable physical, mental and psychosocial well-being of each '
                                                                                               I



                    resident;
                                                                                               i

            xv.     42 CFR §483.75. requires properly trained; qualified and competent staff;`

            xvi.    42 CFR §483.75.(b) requires the facility to operate and provide services ;

                    in compliance with law and acceptable professional standards and

                    principles that apply to professionals providing said services; and        I
                                                                                               ~
            xvii. 42 CFR §483.75(k)(1) requires the facility to maintain clinical records in

                    accordance with accepted professional standards and practices which are

                    completeand accurate.                                                      ~


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  63. As a licensed and certified long-term care facility which receives funding under the

     Medicare and Medicaid programs, Camellia is subject to the above federal regulations

     for the provision of care, treatment and services to residents of the facility.

  64. Camellia's violation of the above regulations of the U.S. Department of Health and 'I
                                                                                         ~
     Human Services include but are not limited to the following acts and omissions, and other
                                                                                                     ~
       acts and omissions in violation of Federal regulations that will be proven at trial:

                i.   Camellia failed to administer the nursing facility in such a way as to use

                     its resources effectively and efficiently to maintain the highest practicable

                     physical, mental and psychosocial well-being of Corene Griggs.

               ii. Camellia failed to implement and follow protocols to protect Corene '

                     Griggs from neglect;

               iii. Camellia failed to operate and provide services to Corene Griggs in

                     compliance with law and acceptable professional standards and principles

                     that apply to professionals providing said services;

               iv.   Camellia failed to provide or arrange services for Corene Griggs that met

                     professional standards of quality;

               v.    Camellia failed to maintain an adequate nursing staff to provide for '

                     Corene Griggs' needs;

               vi.   Camellia failed to provide properly trained, qualified and competent staff

                     to care for Corene Griggs;

              vii. Camellia failed to maintain complete and accurate clinical records related

                     to the care and treatinent of Corene Griggs in accordance with accepted




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                        professional standards and practices;

                 viii. Camellia failed to protect Corene Griggs from neglect;

                  ix.   Camellia failed in their duty to report all instances of Corene Griggs' ,

                        neglect to the facility administrator and appropriate state authorities;

                   x.   Camellia failed to report results of any neglect investigation to thel
                                                                                             I
                        Administrator and appropriate state authorities;                      i

                  xi.   Camellia failed to properly train and supervise the nursing staff to I

                        provide the appropriate care, treatment and services that Corene Griggs

                        needed;and

                 xii. Camellia failed to follow physician's orders with respect to the care and :

                        treatment that Corene Griggs needed.

b.        Camellia's acts and omissions constituting violations of the above-referenced federal ',

          regulations at 42 CFR §483.1 et seq. constitute negligence per se or negligence as a

          matterof law pursuant to O.C.G.A. §51-1-6.

C.        Camellia's failure to comply with the above federal mandates led directly to the serious '

          injury, pain, and suffering of Corene Griggs.

d.       As a proximate result of Camellia's negligence per se, Camellia is liable to Corene

          Griggs for all damages recoverable, including all special and general damages sustained

         by Corene Griggs.

                                    COUNT FIVE                                                      ,
                GEORGIA BILL OF RIGHTS FOR RESIDENTS OF LONG-TERM
                     CAREFACILITIES AT O.C.G.A. & 31-8-100 et seg.

     65. Plaintiff re-alleges and incorporate by reference each of the allegations and numbered



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      paragraphs set forth above as if fully set forth herein.

  66. Upon information and belief, Camellia is a"long-term care facility" as that term is

      defined under O.C.G.A. §31-8-102(3).

  67. The State of Georgia has promulgated the Bill of Rights for Residents of Long-term

      Facilities at O.C.G.A. §31-8-100 et seq., which sets out requirements for those providi

     care, treatment and services to residents of tong-term care facilities in this state.

     particular, O.C.G.A. §31-8-108(a) requires that residents of long-term care facilities

     receive care, treatment and services that are adequate and appropriate and which must

     be provided with reasonable eare and skill and in compliance with all applicable laws

     and regulations (including those listed in the preceding Count of this complaint), and

     with respect for the resident's personal dignity, among other requirements.

  68. Pursuant to its authority granted by statute, the Georgia Department of Human Resources

     has promulgated a number of regulations for the provision of care, treatment and services

     to residents of long-term care facilities. In particular, GA ADC 290-5-39-07 requires that

     each resident be provided with care, treatment and services which are adequate and

     appropriate for the condition of the resident as determined by the resident's developing

     care plan. The regulation also requires that services be provided with reasonable care and

     skill and in compliance with all applicable laws and regulations (including the state laws

     and federal regulations identified above).

  69. Camellia violated the provisions of the Georgia Bill of Rights for Residents of Long-

     Term Care Facilities and the regulations of the Georgia Department of Human Resources

     identified above in all of the acts and omissions that are described in this Complaint for

     Damages. The acts and oinissions constituting violations of,the Georgia Bill of Rights for

     Residents of Long-Term Care Facilities and the regulations of the Georgia DHR include


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    but are not limited to the following, as well as other violations of Georgia statutes that will

    be proven at trial:

               i.   Camellia failed to administer the nursing facility in such a way as to use

                    its resources effectively and efficiently to maintain the highest

                    practicable physical, mental and psychosocial wellbeing of Corene

                    Griggs;


              ii.   Camellia failed to implement protocols to protect Corene Griggs from I            -

                    neglect;

             iii. Camellia failed to operate and provide services to Corene Griggs in

                    compliance with law and acceptable professional standards and principles

                    that apply to professionals providing said services;

              iv.   Camellia failed to provide or arrange services for Corene Griggs that met

                    professional standards of quality;

              v.    Camellia failed to maintain an adequate nursing staff to provide for

                    Corene Griggs' needs;

              vi.   Camelia, failed to provide properly trained, qualified and competent staff

                    to care for Corene Griggs;

             vii. Camellia failed to maintain complete and accurate clinical records related

                    to the care and treatment of Corene Griggs in accordance with accepted

                    professional standards and practices;

            viii. Camellia failed consistently to make any effort to protect Corene Griggs

                    from neglect;



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                ix.   Camellia failed in its duty to report all instances of Corene Griggs' i

                      neglect to the appropriate state authorities;

                 x.   Camellia failed to report results of any 'neglect investigation to the,

                      appropriate state authorities;
                                                                                                    I
                xi.   Camellia failed to properly train and supervise the nursing staff to provid el

                      the appropriate care, treatment and services that Corene Griggs needed; ~,

               xii. Camellia failed to follow physician's orders with respect to the care and 'I

                      treatment that Corene Griggs needed; and

               xiii. Camellia failed to maintain a comprehensive and accurate assessment of ,

                      Corene Griggs' medical needs.

  70. Pursuant to OCGA §31-8-126(a), Plaintiff has a cause of action for damages against '

      Camellia as a result of said Defendants' violations of the rights granted under the Georgia ,

      Bill of Rights for Residents of Long Term Care Facilities such as those identified under !

      O.C.G.A. §31-8- 108(a).

  71. Additionally, Camellia's violations of the regulations of the Georgia Department of '

     Human Resources set out above constitute negligence per se or negligence as a matter ;

     of law pursuant to O.C.G.A. §51-1-6.

  72. Camellia's violations of the rights of Corene Griggs in violation of the Georgia Bill of ,

     Rights for Residents of Long Term-Care Facilities and the regulations of the Georgia DHR ;

     set out above lead directly to the serious injury and terrible pain and suffering of Corene

     Griggs.

  73. As a proximate result of the aforementioned violations of the Bill of Rights, Plaintiff has

     suffered general damages, special damages, and compensatory damages, including but


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                                       .                                                          I

                                                                                                  I

                                                                                                  ~
     not limited to physical and mental pain and suffering, medical costs, medical expenses, ',

     medical bills, damages resulting serious injuries to Corene Griggs and Plaintiff is entitled :

     to an award of damages against Camellia.




                          COUNT SIX                           i
    STATUTORY REMEDIES FOR VIOLATION OF FEDERAL AND STATE     ;
  STATUTES AND REGULATIONS IN THE OPERATION OF A NURSING HOME

  74. Plaintiff re-alleges and incorporates by reference each of the allegations and numbered ,I

     paragraphs set forth above as if fully set forth herein.

  75. Camellia is a"nursing home" as that term is defined under O.C.G.A. § 31-71(1)(B)

  76. Nursing homes in Georgia must be licensed by the DHR/DCH and are required to comply

     with all applicable state and federal laws governing the administration of long term care '

     facilities, including, but not limited to the Bill of Rights for Long Term Care Facilities

     andits rules and regulations.

  77. Pursuant to O.C.G.A. §§ 31-8-100 through 31-8-127, residents of nursing homes in i

     Georgia have been granted certain rights which are enumerated in the regulations

     promulgated by the Georgia Department of Human Resources at GA ADC 111-8-50, et

     seq.

  78. Among the regulations promulgated by the Georgia Department of Human Resources

     forthe operation of nursing homes is GA ADC 111-8-50-.02 and 111-8-50-.07 wliich

     providethat each resident of a nursing home must receive 'care and services which shall

     be adequate, appropriate and in compliance with applicable federal and state law and '

     regulations.

  79. The State of Georgia has promulgated the Bill of Rights for Residents of Long-Term i


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      Care Facilities at O.C.G.A. § 31-8-100 et eq., which sets out requirements for tho

      providing care, treatment and services to residents of long-term care facilities in thi

      state, including personal care homes.

  80. Camellia's conduct which is described in detail above constitutes numerous indivi

      violations of the Georgia Bill of Rights for Residents of Long-Term Care Faciliti

      at O.C.G.A. § 31- 8-100 et seq., the regulations of the Georgia Department of H

      Resources at GA ADC § 111-8- 50 et seq. and the regulations of the U.S. Department of'

      Health and Human Services at Title 42 of the Code of Federal Regulations.

  81. Camellia is liable to Plaintiff for all damages recoverable.

                                       COUNT SEVEN
                                          GENERAL
                                        NEGLIGENCE

  82. Plaintiff re-alleges and incorporates by reference each of the allegations and numbered'

      paragraphs set forth above as if fully set forth herein.                                  ;
                                                                                                i
  83. Corene Griggs entered into a contract for the provision of long-term residence, care,'
                                                                                           !
      treatment and services with Camellia, and pursuant to their agreement Camellia had a,

     duty to exercise ordinary care in the provision of that care, treatment, and services to I

     Corene Griggs. Camellia failed to exercise reasonable care in a number of instances ;
                                                                                                j
     with respect to the care, treatment and services provided to Corene Griggs, and she i

     sustained serious injury, great pain and suffering, and contribution to death as a result. ~
                                                                                                ,
  84. Upon information and belief, Camellia failed to establish and implement policies and

     procedures designed to provide appropriate care, treatment and services to Camellia

     residents including Corene Griggs.

  85. Upon information and belief, Camellia failed to properly prepare their specific facility ;
                                                                                               i

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     budget so as to use its resources effectively and efficiently to maintain appropriate care,

     treatment and services to its residents including Corene Griggs.

  86.Upon information and belief, Camellia failed to implement policies, practices and

     protocols to protect residents, including Corene Griggs from neglect.

  87. Camellia failed to operate and provide services to Corene Griggs in compliance with

     acceptable professional standards and principles that apply to professionals providing

     said services.


  88.Upon information and belief, Camellia failed to maintain.an adequate nursing and non- ~

     professional staff to provide for Corene Griggs' needs.

  89. Camellia failed to provide properly trained, qualified and competent staff to care for

     Corene Griggs.

  90. Upon information and belief, Camellia failed to properly train and supervise their ~

     specific facility staff that were responsible for the provision of care, treatment and i

     services to Corene Griggs.                                                                    ~
                                                                                                   ~
  91. Camellia each failed to properly monitor and chart Corene Griggs' condition and the
                                                                                                   ~
     course of care provided, to address his medical conditions.

  92. Camellia's staff were each negligent in a number of other ways identified herein and to ;

     be further demonstrated by the evidence.                                                      '

  93. As a direct and proximate result of each one of the above-described negligent acts and ;

     omissions by Camellia, Corene Griggs suffered grave injury, and suffered pain and '

     suffering.

  94. Many of the acts and omissions of Camellia described herein are ministerial in nature '


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      and constitute simple negligence for which Camellia is each liable to Plaintiff.

  95. As a result of the foregoing acts and omissions and the resultant injuries, pain and ~

     suffering, Plaintiff on behalf of the estate of Corene Griggs is entitled to recover from

     Camellia as set out below.



                                   COUNT EIGHT
                                BREACH OF CONTRACT

  96. Plaintiff re-alleges and incorporates by reference each of the allegations and numbered

     paragraphs set forth above as if fully set forth herein.

  97. Corene Griggs entered into a contract for the provision of inedical care, long term

     nursing care, treatment; and services with Camellia in this action, and pursuant to that

     agreement, Camellia had a duty to exercise ordinary care in the provision of care,

     treatment andservices to Corene Griggs. Camellia failed to exercise reasonable care in

     a number of instances with respect to the care, treatment and services provided to Corene

     Griggs, and she sustained serious illness, injury, pain, and suffering as a result.            ;

  98. In the wrongful acts and omissions described in detail above and in the insufficiency of ;

     care, treatment and services outlined herein, Camellia failed to provide the services that ,

     they promised to provide pursuant to the contract for services entered between Camellia

     and Corene Griggs. Camellia therefore each breached the contract for services as set out

     herein.                                                                                        ;
                                                                                                    ~
  99. As a result of the foregoing, Plaintiff Marcus Griggs is entitled to recover all amounts

     paid to obtain services under the contract and all consequential damages arising

     therefrom. Camellia agreed to provide skilled nursing and healthcare services to Corene

     Griggs, and pursuant to that agreement Camellia had a duty to exercise ordinary care in' '



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     the provision of care, treatment and services to Corene Griggs. Camellia failed to i

      exercise reasonable care in a number of instances with respect to the care, treatment and !

     services provided to Corene Griggs as described above, and she sustained serious illness, I

     pain, and suffering as a result.




                                              COUNT NINE

        FAILURE TO PROVIDE SUFFICIENT AND PROPERLY TRAINED STAFF                                             ,

  100. Plaintiff re-alleges and incorporates by reference each of the allegations and numbered '

     paragraphs set forth above as if fully set forth herein.

  101. Camellia had a duty to exercise ordinary and reasonable care in providing sufficient

     staffing and properly trained staff at their specific facility.

  102. Camellia was chronically understaffed, which put patients at the facility at risk and in ;

     danger. In addition, the staff at Camellia's specific facility were inadequately and I

     improperly trained.
                                                                                                         ~
  103. Camellia each breached their duty to exercise reasonable and ordinary care in

     providing sufficient and quality staffing.

  104. Camellia failed to provide sufficient staffing at Camellia's specific facility and caused

     the facility to be chronically understaffed and failed to properly train said staff. The acts

     and omissions of Camellia proximately caused Corene Griggs serious injury, pain, and ,

     suffering and death.

  105. As a further result of.the failure of Camellia to provide sufficient staff at Camellia's

     specific facility and failure to properly train its staff, PlaintiffMarcus Griggs, individually, is ;

     entitled to recover damages for the pain and mental anguish, death, suffering, medical



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     expenses, and funeral and burial expenses.




                                        COUNT TEN

    NEGLIGENT HIRING, RETENTION, MANAGEMENT AND SUPERVISION

  106. Plaintiff re-alleges and incorporates by reference each of the allegations and numbered '

     paragraphs set forth above as if fully set forth herein.

  107. Camellia employed the nurses, certified nurse aids and other caretakers who were

     responsible for Corene Griggs' care during her residency at Camellia and at all times

     relevant to this Complaint.

  108. The nurses, certified nurse aids and other caretakers who were responsible for Corene :

     Griggs' care during his residency at Camellia and at all times relevant to this Complaint :.

     were acting incident to and in the course and scope of their employment with Camellia ,

     at all times relevant to this Complaint.

  109. Upon information and belief, Camellia breached a duty and was negligent in hiring

     unqualif ed staff, in failing to hire sufficient numbers of staff to handle the workload

     at the Camellia facility, in failing to adequately train and supervise and manage the staff

     at the Camellia facility, and in retaining certain staf£ As a direct and proximate result of I

     such negligent failures, Corene Griggs suffered personal injuries, and damages.

  110. As a proximate result of Camellia's negligent hiring, retention, supervision, and '

     training of their employees as described above, Plaintiff has stiffered general datnages, :

     special damages, and compensatary damages, including but not limited to physical and ~.

     mental pain and suffering, medical costs, medical expenses, medical bills, and damages




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     resulting from the wrongful death of Corene Griggs.




                                 COUNT ELEVEN


                                PUNITIVE DAMAGES

  111. Plaintiffre-alleges and incorporates by reference each of the allegations and numbered ;

     paragraphs set forth above as if fully set forth herein.                                    ;

  112. In this tort action, there exists proof by clear and convincing evidence that the actions 1
                                                                                                 1




     of each Camellia as described above and as described in Exhibit 1 attached hereto '

     showed willful misconduct, wantonness, and the entire want of care in failing to prevent -

     and treat Corene Griggs from suffering debilitating pressure wounds which would raise

     the presumption of conscious indifference to the consequences, so as to entitle Plaintiff

     to recover punitive damages against Camellia in an amount to be determined in the

     enlightened conscience of impartial jurors to punish,penalize, and deter Camellia from

     repeating its conduct.

 WHEREFORE, Plaintiff prays:

                i.   That Summons and a copy of this Complaint be served on Camellia;

                ii. That judgment be entered against Camellia in amounts in excess of '

                     $10,000 for all special damages, pain, and suffering of Corene Griggs;

               iii. That judgment be granted in favor of Plaintiff for exemplary/punitive '

                     damages pursuant to O.C.G.A. § 51-12-5.1 in an amount to be determined

                     by the enlightened conscience of a fair and impartial jury;




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.                                                                                                     i

                  iv.   That Plaintiff have a TRIAL BY JURY; and

                  v.    That Plaintiff be granted any and all further relief as is just and proper.




    Respectfully Submitted this 22th Day of August, 2023,


                                                       /s/: Jacob Runyon                              ;
                                                       Jacob Runyon
                                                       State Bar No. 528373
                                                       Smith Clinesmith LLP
                                                       325 N. St. Pau129th Floor
                                                       Dallas, TX 75201                               !
                                                       jacob@fightingelderabuse.com
                                                       Tel. 214-953-1900
                                                       ATTORNEY FOR PLAIIVTIFF




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  STA'I'E OF FLORIDA


 COUNTY OF PINELLAS                §



                                    Affidavit of Merit of Dr.lFadi Saba, M.D.
                                               Re: Corene Griggs
                                           IDate of Birth: 03/01/1936
 I am a licensed physician for the State of Florida and
                                                        have attached a true and correct copy of my
 Curriculum Vitae, which lists my expert tlualifications as
                                                            follows:
1.        I am a physician licensed to practice in the state of Florid
                                                                        a and devote at teast 75% of iny          '
professiorial time to ttie active clinical practice of inedicine.
                                                                  At the time of review of the records in this case,
I was actively practicing rnedicine. My license has not been
                                                                    revoked or suspended in the past years in any
state. I am board certified in Internal Medicine and
                                                          have specialized knowledge, skill, experience, training
and education and practice in the fields or geriatric, nursin
                                                               g home, and assisted living care.
2.       1 am also familiar with the applicable standards of care
                                                                    in the treatinent of pat'rents like Coreiie Griggs.
 I have cared for many patients similar to Ms. Griggs
                                                             in liospital and nursing home settings over the; last
 several decades. In particular, I have extensive experience
                                                               in treatment of patients who liave a medical history
 that includes pressure ulcers, Parkinson's, congestive
                                                             heart failure. I liave treated residents and managed
 resident wlio have been diagnosed with t11e injuries comp
                                                                lained of in this case. 1 am knowledgeable of'the
 standards of care of assisted living facilities, having worke
                                                               d with nursing staff in the coorditiation of care for
 residents of such facilities. A true and accurate copy of
                                                              my curricuhim vitae containing my natne, address,
qualifications and list of publications is attached hereto
                                                             as Exhibit A.
3. In this case, I have reviewed the following:
         a. Medical records of Corene' Griggs from Camellia Garde
                                                                  ns of Life Center;
         b. Medical t-ecords of Corene Griggs from Archbold Memo
                                                                   rial Hospital;
         c. Medical records of Corene Griggs from Hospice of Sottth
                                                                    west Georgia;
        d. Photographs and video of Corene Griggs' injuries;
        e. Death certi>=<cate of Corene Griggs

   4. The pertinent facts are as follows: Corene Griggs was
                                                                admitted to Camellia Gardens of Life Certter
       on 1/31/2022. At the time of her admission to Camellia
                                                                   Gardens of Life Centers, Ms. Griggs had a
       medicaI history that incltzded: unspecified hyperlipidemia,
                                                                      chronic systolic congestive heart failure,
       iron deficiency anemia secondary to blood loss, Itypetiensiv
                                                                     e lieat-t disease with heart failure, essen;tial
       trenior, stage 2 pressure ulcer of sacral region, overactive
                                                                       bladder, Parkinson's disease, displaced
      oblique fracture of sliaft of riglit femur subsequent encou
                                                                  nter for closed fracture witli routine heal iiig,
      aftercare following explanatipn oI' hip joint prosthesis.
   5. On 3/28/2022, Ms. Griggs iiad a new abrasion on the
                                                               buttock ci-ease where an insert pad laid against
      the skin. On 8/5/2022, the pressure wound to the right iriner
                                                                      leg was noted to have odorous slough in
      the wound bed. On 8/15/2022, the right medial lower leg
                                                                  wound started as an "abrasioti" but becai-ne
      a stage 2 pressure wound that'measures 3.5x1.5x2cm, has
                                                                   tunneling at 12 o'clock with depth of 3cm
      and modet•ate purulent drainage. On 11/22/2022, Ms. Grigg
                                                                     s' wound to her left hip grew in size and
      began ernitting an odor. On 12/10/2022, Ms. Griggs
                                                                  passed away, with cause of death beirrg
      cardiopulmonary art•est and secondary cause cotnplications
                                                                    of right femur fracture.
      Breaches in Standard of Care
                                                                                                                ;
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 6. As an assistecl Iivi~rg faci~lity,'fl,ie sfiandard of car~ for Carne
                                                                           Jlia Ci~trdens of Life Center required that
    tliey prov'ide a care and ;treatment Ievel. thati a -reasonable
                                                                         , prlxderit simi[ar facility and staff 4voulci
     provide Lander the sazrte :or, sii-nitar ciivumstances. Came
                                                                    llia. Garclens of I..ife Center, ifis managers anci
     operators an& nursirig sEaff breached the standard of care
                                                                       in the Fallowing nianner;                 ;
 7. Nurssirig staf'fof Cairiellza Gardens cif Life Center
                                                             are reqkiireci to prevent the development of pressure
    soies, artd if a resident has presslire sores, provide the neces
                                                                             sary treatrnent attd services to promote
    Iiealing; prevent infecfiion, artd prevent tiew sores frotn devel
                                                                           cping. Here, Ms. Griggs was admitted to
    the Camellia Gardens of I.,ife Center with a I,nnwn sacral pressl
                                                                              tre wotind, right lower leg and a c;loseci
    wound on ttie left-hip. While in ilie care of Can7ellia Garde
                                                                         ns of Life Cetiter, Ms. Griggs' wou ~nds to
    her right inner (eg worserted to a de.pth of 3 cm. Slie also developed
                                                                                    aiiew abrasion to tlle fold of liey
    buttock.
S. 1'he standarcl ofcate i"or assisted living facilities requir                                                ,
                                                                   es that they:do not retain rosidents wliose iieecls
    are beyond that. whicll the assisted lii=ing can provide.
                                                                      In this case, Ms. Griggs's needed care was
    beyond t11at vt=hicli Camel7ia Gardens of Lifu Center could
                                                                          provid+e. From her adinission to ho;spice
    cave witli an incrc~ased nurriber of skin issEies and woltnds
                                                                         worsening, it is. evident, to a reasonal~le
   degree of' medical probability; tFzat Ms. C'arigl;s :experience
                                                                          d iticreased suffering. Ms. Griggs had
   substantiail risk ofwourtd developm     rrtent aiid skin breakdowxl, consisfient with the 13raden score of
   as well as the existence of inultiple pressure wotznds upon                                                    12,
                                                                         her ?dirzission. These wounds, as well as
   riew`woLlltd. de4'el()j?2Y1eI1t; caused Ms: Grigg
                                                       s iricreased pain attd suffering prior to 11er death.
9. It is my capinion;that there is inerit to filing suit against
                                                                  Catnellia Gardens ofl..ife Center,. it's mani3gers
   and operatois fox'the injuries to. C'oi~ene Griggs.
                                                                                                               ,
   I declare unde7 penalt}j of perjury tltat tlte above staternents
                                                                    are true and                    rrect pursuant to the'laws
   of tlie State oWe.oi gia.
                                                                                                                         {

                                                                                               dadi-Saba, MD.

   Sworn to ari0stibsexibed`in my presence this
                                                                                          day of'At2gust 2023.



                                                                                               k otary Ptiblic

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                                                 ,~~v-ay~,,           EIiEAYYtfB
                                               tx"fflrik ' Nqtary Fublic • 5tate of Etari~da
                                               `y'~,i           Comrntssion N HH 2961Qd
                                                `<~ors~~~ My Comm. Expires Oct 9; 202b
                                                        Bunded tHrau~h Naftonat Notary ,dun.
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                                        Curricu9urn Vptae
                                            F.E. Saba, M.D.
                                1839 Central Avenue, St. Petersburg, FL 33713
                       Office: 727-210-8402 Mobile: 727-804-3267 Fax: 727-822-8081
                                       fsa b^
                                            G@excellent-expeits.com

                                                                                                           i

    ~                                               .
           ..,.




                         Dr. Saba is the founder and CEO and an active practicing physician for
Professional Health Care of Pinellas, LLC; a multi-specialty group in St. Petersburg, Florida, since 1997. ;

Professional Health Care of Pinellas is a multispecialty group that provides healthcare in downtown St. i
Petersburg, Florida.
                                                                                                           i
Dr. Saba has extensive experience in acute hospitals, long-term acute care (LTAC) hospitals, assisted
living facilities, nursing homes, and ambulatory care settings. ,
                                                                                                           i




Personal:

Citizenship:                     United States of America

Fla. Medical License Number:     ME71448

DEA Number:                      BS4923656

Languages Spoken:                Speaks, reads and writes: English, French, Arabic
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•                                        Curriculum Vetae
                                             F.E. Saba, M.D.
                               1839 Central Avenue, St. Petersburg, FL 33713
                      Office: 727-210-8402 Mobile: 727-804-3267 Fax: 727-822-8081
                                        fsaba@excellent-experts.com



Areas of expertise:

                          1.   Nursing Home/Post Acute Care
                          2.   Hospital Standard of Care
                          3.   Long-term Acute Care (LTAC)
                          4.   Assisted Living Facilities
                          5.   Cause of death related to above




Forensic expertise:

I have testified for both Plaintiff and Defense since 2015 regarding geriatric issues, falls, complicated   ;
medical cases, hospital and nursing home care.




Education:

July 1995-June 1996               PGY3 and Chief Resident, Good Samaritan Hospital

                                  (John Hopkins System) Department of Internal Medicine

July 1994-June 1995               PGY2, Good Samaritan Hospital of Maryland

                                 (John Hopkins System) Department of Internal Medicine

July 1993-June 1994              PGY1, Good Samaritan Hospital of Maryland

                                 (John Hopkins System) Department of Internal Medicine




Board Certifications:

                          Diplomat of the American Board of Internal Medicine

                          Previously board certified in hospice and palliative care
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                                      fsa ba @excelle nt-experts.com



Honors:
June 1996                 Excellence Award for Dedicated Teaching and Outstanding Leadership

                          Good Samaritan Hospital, Johns Hopkins University, Department of Internal

                          Medicine

June 1996                 Physician of the Year

                          Good Samaritan Hospital, Johns Hopkins University

October 1995              Found Member and Vice Chairman,

                         The Chief Residents Association of Baltimore



IMork Experience:
April 1997- Present      Professional Health Care of Pinellas, LLC

                         St. Petersburg, Florida: CEO of Multi-Specialty Group



Skilled Nursing Facility Experience:

2011- Present            Medical.Director               Pinellas Pointe Health & Rehab Center

2014- Present            Medical Director               Clearwater Center & Rehabilitation

2006- Present            Medical Director .,            BayPointe Nursing Pavilion

2001-2013                Medical Director ,             Carrington Place Convalescent Center

May 2000- 2012           Medical Director               College Harbor/The Allegro

1998- Present            Medical Director               South Heritage Health & Rehab Center

Apr 2018- Present        Medical Director               Consulate HeafthCare of Safety Harbor

Oct 2018- Present        Medical Director               Stratford Court of Palm Harbor

Oct 2018- Present        Assoc. Medical Director        Oak Manor Nursing Home

Oc.t 2018- Present       Assoc. Medical Director        Addington Place at College Harbor
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Acute Short Term Hospital Experience:

2014- Present                   Quality Committee Member,

                                St. Anthony's Hospital (Bay Care Health System)

2006- Present                   Medical Director, Hospitalist Services;

                                St. Anthony's Hospital (Bay Care Health System)

2010- Present                   Medical Director, Kindred Hospital- St. Petersburg, Florida

                                Chair, QA Committee, Kindred Hospital- St. Petersburg, Florida

2007- 2011                      Chief of Staff, Edward White Hospital- St. Petersburg, Florida

                                An HCA Hospital

2004- 2007                      Chief of Medicine, Edward White Hospital

                                St. Petersburg, FL; An HCA Hospital

1999- 2014                      QA Committee, Internal Medicine Department

                                Bayfront Medical Center, St. Petersburg, Florida

1998- 2006                      Member, Credentialing Committee

                               St. Anthony's Hospital, St. Petersburg, Florida

1998- Present                   Teaching Faculty, Northside Hospital and Heart Institute

                                Pinellas Park, Florida

1998- 1999                     Member, Pharmacy & Therapeutics Committee,

                               Northside Hospital and Heart Institute



LTAC Experience

(Long Term Acute Care Hospitals) .

Dec 2001- 2007                 Chief of Staff, Kindred Hospital, St. Petersburg, Florida

                               (A LTAC facility)

Jan 2000- Dec 2001             Vice Chief of Staff, Kindred Hospital
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Corporation Facilities:
2012- Dec 2018                 Board Member, AII Care, ACO

                               (Accountable Care Organization)

2010- 2018                     Charter Member & Board Member,

                               Bay Care Partners; CIN

                               (Clinically Integrated Network)

2010- Present                  Corporate Medical Director, Traditions Management

                               Skilled Nursing Facility Management Company

2000- 2015                     Trustee Board Member, Edward White Hospital

                               St. Petersburg, Florida

1998- 2000                     Chart Reviewer, Florida Medical Quality Assurance



Psychiatric Hospital:
July 2001- Present             Consulting Physician, Windmoor Psychiatric Hospital

                               Clearwater, Florida



Acute Rehab Hospital:
August 2015- Present           One of 3 groups at Healthsouth/Encompass Rehab

2016- Present                  Member, Pharmacy & Therapeutics Committee
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Assisted Living Facility Experience:

2000- 2007                      Medical Director                 Bon-Secours Place

    1.
                                                                 St. Petersburg, Florida

2012- Present                   Medical Director                 Magnolia Gardens

                                                                 Pinellas Park, Florida

2007- Present                   Medical Director                 Patrick Manor

                                                                 St. Petersburg, Florida

Retirement Community Experience:
1997- Present                                  Princess Marth Retirement Community

                                               St. Petersburg, Florida

1998- Present                                  Martin Luther King Foundation HUD Housing

                                               St. Petersburg, Florida.:

2007- Present                                  Sunrise Community

                                               St. Petersburg, Florida .,

2017- Present                                  Sunrise Community

                                               Bartow, Florida

Professiona/ Appointments:

Bayfront Medical Center                        St. Petersburg, Florida

Encompass Health Rehab Hospital of Largo       Largo, Florida

Kindred Hospital                               St. Petersburg, Florida

Largo Medical Center                           Largo, Flori,da

Northside Hospital                             St. Petersburg, Flo.rida

Pa.lms of Pasadena Hospital                    St. Petersburg, Florida

St. Anthony's Hospital                         St. Petersburg, Florida

St. Petersburg General                         St. Petersburg, Florida

Windmoor Psychiatric Hospital                  Clearwater, Florida
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Residency Experience:

July 1996- September 1996                Primary Care„The Chase- Brexton Health Services

                                         Baltimore, MD

July 1995- June 1996                     Chief Resident, Good Samaritan Hospital Health Services

                                         (John Hopkins System) Department of Internal Medicine              !

Oct 1995- June 1996                      Volunteer Staff Physician, The Chase- Brexton health Services

                                         (A medical clinic specializing in HIV Services)



Research Experience:

Dec 2018- Present                        SMT19969/C004: A Phase 3, randomized, double-blind, active
                                         controlled study to compare the efficacy and safety of
                                         ridinilazole (200mg, bid) for 10 days with vancomycin (125mg,
                                         qid) for 10 days in the treatment of Clostridium difficile
                                         infection (COi)

July 2018- Present                       M16-100: Testosterone Replacement therapy for assessment of,
                                         long-term Vascular Events and efficacy response in hypogonadal
                                         men (TRAVERSE) study
                                                                                                            i
May 2018- Feb 2021                      17354N: Real- life effectiveness of vortioxetine in patients with
                                        major depressive disorder (MDD) and cognitive symptoms. A;
                                        non-interventional, prospective cohort study to assess real-life
                                        effectiveness of vortioxetine in three countries

Feb 2018- July 2019                     LixiLan-0: A 26-week randomized, open-label, active-controlled,l
                                        2-treatment arm, parallel-group multi-center study, comparing :
                                        the efficacy and safety of Soliqua 100/33 versus Lantus in
                                        ethnically/racially diverse patients with type 2 diabetes mellitu5
                                        inadequately controlled on basal insulin and oral antidiabetic ;
                                        agent

Jan 2018- Oct 2020                      Navigator: A multicenter, randomized, double-blind, placebo
                                        controlled, parallel group, phase 3 study to evaluate the efficacy
                                        and safety of Tezepelumab in adults and adolescents with
                                        severe uncontrolled asthma
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Jan 2018- March 2021                    SCORED: A randomized, double-blind, placebo-controlled,           '
                                        parallel-group, multicenter study to demonstrate the effects of
                                        Sotagliflozin on Cardiovascular and Renal Events in patients with!
                                        type 2 diabetes, cardiovascular risk factors and moderately      I
                                        impaired renal function



Dec 2017- Aug 2018                      Visterra: Phase 2b, Multicenter, randomized, double-blind,
                                        controlled study to evaluate the efficacy and safety of
                                        Intravenous VIS410 in addition to Oseltamivir (Tamiflu)
                                        compared to Oseltamivir alone in hospitalized adults with
                                        Influenza A infection requiring oxygen support

June 2017- Present                      Prominent: Pemafibrate to reduce cardiovascular outcomes by
                                        reducing triglycerides in patients with diabetes

April 2017- Present                     Heart FID: A randomized, double-blind, placebo-controlled
                                        study to investigate the efficacy and safety of Injectafer (Ferric
                                        Carboxymaltose) as treatment for heart failure with iron
                                        deficiency

March 2017- July 2018                   Monofer: A phase 3, randomized, open-label, comparative
                                        safety and efficacy trial of intravenous iron isomaltoside
                                        (Monofer) and iron sucrose in subjects with iron deficiency
                                        anemia and non-dialysis dependent chronic kidney disease

Feb 2017- Present                       Clear Outcomes: A randomized, double-blind, placebo-
                                        controlled study to assess the effects of bempedoicadic (ETC-
                                        1002) on the occurrence of major cardiovascular events in
                                        patients with, or at high risk for, cardiovascular disease who are
                                        strain intolerant

Aug 2016- Feb 2018                      Cara: A multicenter, randomized, double-blind, placebo-
                                        controlled, adaptive design study evaluating the analgesic
                                        efficacy and safety of intravenaus CR845 in patients undergoing'
                                        abdominal surgery

Aug 2016- Oct 2016                      Merck Pneumonia: A Phase III, randomized, double-blind, active
                                        comparator-controlled clinical trial to study the safety,
                                        tolerability and efficacy of Imipenem/Cilastatin/Relebactam
                                        (MK-.7655-A) versus Piperacillin/Tazobactam in subjects with ~
                                        hospital-acquired bacterial pneumonia or ventilator associated '
                                        bacterial pneumonia
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                                       Curriculum Vitae
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June 2016- Sept 2016                     Artemis: Affordability and real-world antiplatelet treatment       I
                                         effectiveness after myocardial infarction study. A prospective, ;
                                         cluster-randomized study to evaluate whether copayment
                                         reduction significantly influences anti-platelet therapy selection ~
                                         and long-term adherence                                            I
                                                                                                            i
May 2016- July 2018                      Pioneer 4: Efficacy and safety of oral Semaglutide versus
                                         Liraglutide and versus Placebo in subjects with type 2 diabetes ;
                                         mellitus

Jan 2016- Present                        LIRA-PRIME: Efficacy in controlling glycemia with Victoza
                                         (liraglutide) as add-on to metformin versus OADs as add-on to
                                         metformin after 104 weeks of inetformin monotherapy and
                                         treated in primary care setting

Jan 2016- Nov 2016                       Credence: A randomized, double-blind, event-driven, placebo-
                                         controlled, multicenter study of the effects of Canagliflozin on
                                         renal and cardiovascular outco`mes in subjects with type 2
                                         diabetes mellitus and diabetic neuropathy

Oct 2015- June 2018                      Harmony Outcomes: A long term, randomized, double-blind,
                                         placebo-controlled study to determine the effect of albiglutide,
                                         when added to standard blood glucose lowering therapies, on
                                         major cardiovascular events in patients with type 2 diabetes
                                         mellitus

Aug 2015-June 2016                      A Phase 3 randomized, double-blind, placebo-controlled study i
                                        to.investigate the efficacy and safety of XaraColl Bupivacaine
                                        Implant (300mg Bupivacaine Hydrochloride) after open
                                        laparotomy hernioplasty

June 2015- July 2016                    A Phase 3 randomized, placebo-controlled, blinded study to
                                        investigate the safety and efficacy of a topical Gentamicin-
                                        Collagen Sponge in combination with systemic antibiotic
                                        therapy in diabetic patients with an infected foot ulcer

April 2015- May 2016                    Open-label Phase III clinical trial to evaluate the safety of 0.03%
                                        DSC 127 gel in chronic use for treating diabetic foot ulcers
                                        ("DFU")

March 2015- Oct 2018                    REDUCE-IT (Reduction of Cardiovascular Events with EPA-
                                        Intervention Trial): A multi-center, prospective, randomized,
                                        double-blind, placebo-controlled, parallel group study to
                                        evaluate the effect of AMR 101' on cardiovascular health and
                                        mortality in hypertriglyceridemic patients with cardiovascular        ;
                                        disease or at high risk for cardiovascular disease
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Jan 2015- April 2016                     Portola: Multicenter, randomized, active-controlled efficacy and
                                         safety study comparing extended duration Betrixaban with
                                         standard of care Enoxaparin for the prevention of venous         ;
                                         thrombosis in acute medically ill patients                       ,

Nov 2014- April 2015                     Multag: Real world study evaluating Dronedarone treatment
                                         patterns and outcomes in patients with atrial fibrillation: Wave i
                                         2                                                                 i



Sept 2014- May 2018                      Carmelina: A Multicenter, international, randomized, parallel
                                         group, double-blind, placebo-controlled cardiovascular safety
                                         and renal micro vascular outcome study with linagliptin 5mg
                                         once daily in patients with type 2 diabetes mellitus at high
                                         vascular risk

July 2014- June 2018                     Camellia: A randomized, double-blind, placebo-controlled,
                                         parallel-group study to evaluate the effect of long-term
                                                                            ,

                                         treatment with BEL VIQ (lorcaserin HCI) on the incidence of
                                         major adverse cardiovascular events and conversion to type 2
                                         diabetes mellitus in obese and overweight subjects with
                                         cardiovascular disease or multiple cardiovascular risk factors

July 2014- May 2018                     Galathea: A randomized, double-blind, chronic dosing (56 week)i
                                        placebo-controlled, parallel group, multicenter, Phase III study
                                        to evaluate the efficacy and safety of 2 dose of Benralizumab
                                        (MEDI-563) in patients with moderate to very severe chronic
                                        obstructive pulmonary disease (COPD) with a history of COPD
                                        exacerbations

May 2014- Aug 2018                      CDiffense: Efficacy, immunogeriicity and safety study of
                                        Clostridium difficile toxoid vaccine in subjects at risk for c.
                                        difficile infection

Feb 2014- May 2016                      STRIDE 1: A randomized, double-blind, parallel-group, vehicle-
                                        controlled Phase 3 clinic trials to evaluate the efficacy and
                                        safety of DSC127 in treating non-healing foot ulcers in subjects
                                        with diabetes mellitus

Jan 2014- June 2018                     SONAR (Study of Diabetic Nephropathy with Altrasentan): A
                                        randomized, multicounty, multicenter, double-blind, parallel,
                                        placebo-controlled study of the effects of Atrasentan on renal
                                        outcomes in subjects with type 2 diabetes and nephropathy      ;
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                                      fsaba@excellent-expet-ts.com



Dec 2013- Dec 2017                      Ascent: double-blind, randomiied, placebo-controlled, parallel-
                                        group, Phase IV study to evaluate the effect of Aclidinum,
                                        Bromide on long-term cardiovascular safety and COPD
                                        exacerbations in patients with moderate to very severe COPD

Dec 2013- Dec 2015                      An evaluation of tissue engineering approaches for treatment of
                                        neuropathic disease foot ulcers resistant to standard of care: a
                                        prospective, randomized, controlled trial

Sept 2013- Dec 2018                     DECLARE (Dapagliflozin Effect on Cardiovascular Events): A
                                        multicenter, randomized, double-blinded controlled trial to
                                        evaluate the effect of Dapagliflozin 10mg once daily on the
                                        incidence of cardiovascular death, myocardial infarction or
                                        ischemic stroke in patients with type 2 diabetes

Oct 2012- May 2014                      A multi-center, randomized, double-blind, placebo controlled
                                        Phase 3 study to evaluate cardiovascular outcomes of TAK-875,
                                        50mg in addition to standard of care in subjects with type 2
                                        diabetes and with cardiovascular disease or multiple risk factors
                                        for cardiovascular events

Oct 2010- Dec 2014                      SOLID TIMI: A clinical outcome ,study of Darapladib versus
                                        placebo in subjects following acute coronary syndrome to
                                        compare the incidence of major adverse cardiovascular events
                                        (MACE)

June 2010- May 2013                     SAVOR (Saxagliptin Assessment of Vascular Outcomes recorded
                                        in patients with diabetes mellitus): A multicenter, randomized,
                                        double-blind, placebo-controlled Phase IV trial to evaluate the
                                        effect of Saxagliptin on the incidence of cardiovascular death,
                                        myocardial infarction or ischemic stroke in patients with type 2
                                        diabetes

Nov 2006- Sept 2010                     ROCKET: A prospective, randomized, double-blind dummy,
                                        parallel group, multi-center, event driven, non-inferiority study
                                        comparing the efficacy and safety of once daily oral Rivaroxaba
                                        (BAY 597939) with adjusted dose oral warfarin for the
                                        prevention of stroke and non-central nervous system systemic
                                        embolism in subjects with non-,valvular atrial fibrillation

Oct 2006- May 2008                      PLATO: A randomized, double-blind, parallel group, Phase 3,
                                        efficacy and safety study of AZD6140 compared with
                                        Clopidogrel for prevention of vascular events in patients with
                                        NonST Elevation acute coronary syndromes (ACS)
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Sept 2006- Sept 2009                     Avant-Gartle TIMI 43: A randomized, double-blind, parallel
                                         group, placebo controlled, muliination clinical trial to evaluate ;
                                         the efficacy of Aliskiren and Valstratan vs placebo in lowering ~
                                         levels on NT proB NP in stabilized patients post-acute coronary ;
                                         syndrome

Oct 2005- Dec 2014                       Improve-IT: A multi-center, double-blind, randomized study to
                                         establish the clinical benefit and safety of Vytorin vs Simvastatin,
                                         in high-risk subjects presenting with acute coronary syndrome



Publications:

        1. Moukaddem, N., Saba, F., Corkum; J.: "Cryptogenic Lactic Acidosis, a Case Report."
        2. Saba, F., Moukaddem, N.: "Electroencephalography in the Evaluation of Patients with
           Change in Mental Status." An abstract present to the American College of Physicians
            May 1995.
        3. Pearse, D., Saba, F., Katanidou, A., Permutt, S., Warner, E.: "Ventilation Prevents Ischemic
           Injury by a Nitric Oxide Independent Mechanism in Isolated'. Sheep Lungs." An abstract
             presented to the American Thoracic Society
             May 1995
        4.   Saba, F., Black, K., Dritsas, S., Selinger, S.: "Risk of Deep Venous Thrombosis with Femoral
             Venous Catheterization." An abstract presented to the American Thoracic Society meeting, '
             May 1996



Speaking Engagements:
2002- Present

Pfizer Pharmaceuticals- Topics: Zyvox, Aricept, Lyrica, Viagra



2008- Present

Cubist Pharmaceuticals- Topic: Cubicin



2007- 2010

Forest Pharmaceuticals- Systolic- Ditropan
